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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

Philip Sieff, as trustee for the
next-of-kin of Dawn Marie Pfister,                        Case No. 15-cv-419 (PAM/DTS)

                     Plaintiff,

v.                                                                                ORDER

Brady Juell,

                  Defendant.
       __________________________________________________________

       This matter is before the Court on Plaintiff Philip Sieff’s Petition for Approval of

Distribution. (Docket No. 75.) On April 17, 2017, Sieff accepted Defendant Brady

Juell’s Rule 68 Offer of Judgment in the amount of $1,000,001.01, plus costs and

reasonable attorneys’ fees to settle this litigation brought under 42 U.S.C. § 1983. Sieff,

as the independent Trustee for the next-of-kin of Dawn Marie Pfister, now seeks Court

approval of his proposed distribution of the $1,000,001.01 to Pfister’s mother, father, and

two children.

       But federal courts are courts of limited jurisdiction and Sieff has not provided the

Court with any constitutional or statutory authority that would allow it to exercise

jurisdiction over the distribution of Pfister’s estate. Quite to the contrary, the Supreme

Court has recognized a “probate exception” to otherwise proper federal jurisdiction. See

Marshall v. Marshall, 547 U.S. 293, 308 (2006). The probate exception “reserves to state

probate courts . . . the administration of a decedent’s estate.” Id. at 311. Sieff’s request

that the Court order 95% of the settlement to go towards Pfister’s two children, with the
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remaining amount split equally between Pfister’s mother and father, as well as order the

distributions invested in a tax free annuity and prohibit those annuities from being sold

throughout the life of each plan, is exactly the type of issue a state probate court, rather

than a United States district court, should determine.

       Accordingly, IT IS HEREBY ORDERED that Sieff’s Petition for Approval of

Distribution (Docket No. 75) is DENIED without prejudice.



Dated: __5/9/2017__                       _____s/ Paul A. Magnuson____
                                          Paul A. Magnuson
                                          United States District Court Judge




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